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                          UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


UNITED STATES OF AMERICA,                           CRIMINAL NO. 08-295 (MJD/JSM)

      Plaintiff,

v.                                                REPORT AND RECOMMENDATION

KEENAN HARRIS (3), and
DELORES HOWARD (5),

      Defendants.


JANIE S. MAYERON, United States Magistrate Judge

      The above matter came on for hearing before the undersigned upon defendant

Keenan Harris’s oral motion to suppress a traffic stop and citation from June 28, 2006;

and on defendant Delores Howard’s Motions to Suppress Evidence Obtained as a

Result of Search and Seizure of Defendant’s Residence and Vehicle [Docket No. 56], to

Suppress Evidence Obtained as a Result of Search and Seizure [Docket No. 57], and to

Suppress Statements, Admissions and Answers [Docket No. 58]. Andrew R. Winter,

Assistant United States Attorney, appeared on behalf of the United States of America;

John L. Lucas, Esq. appeared on behalf of defendant Keenan Harris, who was

personally present; and Gary R. Bryant-Wolf, Esq. appeared on behalf of defendant

Delores Howard, who was personally present.         The matter was referred to the

undersigned by the District Court for a Report and Recommendation pursuant to 28

U.S.C. § 636 (b)(1)(B).

      Defendants are each charged with one count of conspiracy to distribute and

possess with intent to distribute cocaine in violation of 21 U.S.C. §§ 841(a)(1),
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841(b)(1)(A) and 846. Both defendants have brought motions to suppress evidence;

however, because the motions to suppress stem from separate sets of facts, the Court

will address each motion separately. Additionally, Howard has brought a motion to

suppress statements.

       Based upon the pleadings, the pre-hearing submissions, and testimony taken

from Officer Mark Nelson and Special Agent Terry Glynn at the hearing on December

19, 2008, it is recommended that defendants’ motions be denied.

I.     HARRIS’S MOTION TO SUPPRESS

       A.     Facts

       Officer Mark Nelson testified at the hearing to the following: on June 28, 2006, he

was working for the St. Paul Police Department, and with his partner, effected a traffic

stop shortly after 11:00 p.m. at White Bear Avenue and Fifth Street. Tr. 25. Officer

Nelson had been driving in a marked patrol car northbound on White Bear Avenue. Tr.

25.   He was approximately a half block behind a Jeep Cherokee also traveling

northbound on White Bear Avenue in the curbside lane, when he observed it pull into a

driveway at about XXX White Bear Avenue. Tr. 25. The vehicle’s turn signal appeared

as the vehicle was making the turn into the driveway; the driver did not signal the turn

100 feet prior to the turn, which is a violation of Minnesota Stat. § 169.19. Tr. 25, 40.

As Officer Nelson drove past the vehicle, he observed it parked in the driveway such

that it was blocking the entire sidewalk, which is a violation of a St. Paul city ordinance.

Tr. 25-26, 35. Officer Nelson also observed that the driver did not exit the vehicle and

was not doing anything, which Officer Nelson thought was suspicious, so he made a U-

turn on White Bear Avenue, pulled behind the vehicle and activated his emergency




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lights. Tr. 25-26. In Officer Nelson’s experience, when a police car is travelling behind

a vehicle and the driver makes a sudden turn into a driveway, stops short or parks at

weird angles, it is suspicious because the driver may be trying to avoid police detection

if they do not possess a valid drivers license, are impaired, or have narcotics or firearms

in the vehicle. Tr. 31-32.

       Officer Nelson approached the vehicle and spoke with the driver, Keenan Harris.

Tr. 26. He asked Harris for his driver’s license, and Harris provided him with a photo ID.

Tr. 27. Officer Nelson asked Harris whose car he was driving, and Harris stated that it

was a rental car. Tr. 27. Officer Nelson asked Harris if he was on the rental agreement

and Nelson said he was not. Tr. 27. Officer Nelson asked Harris who had rented the

car, and Harris stated that Armando Sanders had rented the vehicle. Tr. 27:3-8. Officer

Nelson did not write this statement about Sanders down in any notes or report. Tr. 29-

31, 35-37.1 At the time of the traffic stop, Officer Nelson was aware of an investigation

into the activities of an alleged drug dealer named Armando Sanders.2 Tr. 30.

       Because Harris did not have a valid driver’s license, and had committed the

traffic and ordinance violations, Officer Nelson issued him a citation. Tr. 27. Officer

Nelson then had the vehicle towed to the city impound lot as no one else was in the car,




1
        No notes, reports or tape-recordings were made of this stop. Tr. 29. The only
paperwork generated from the stop were the citation issued to Harris and the tow sheet.
Tr. 29.
2
       Armando Sanders is a co-defendant in this case.



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and Officer Nelson did not feel comfortable abandoning a rental vehicle in front of the

residence. Tr. 27. Harris was not arrested. Tr. 27-28, 43.3

       As part of the impoundment of the car, an inventory search was performed,

during which a rental agreement with Sanders’ name on it, three cell phones and a

charger were recovered. Tr. 28, 30, 39.

       On cross-examination, Officer Nelson testified that he did not know the exact

wording of the policy of the St. Paul Police Department on towing vehicles, but he knew

that he was not in violation of the policy. Tr. 38-39.      Officer Nelson stated that the

reason an inventory search is performed prior to the tow, rather than at the police

station, is to ensure that anything of value inside the vehicle is documented before it is

turned over to the tow truck driver in case a theft occurs at a later time. Tr. 39.

       B.     Analysis

       Harris has moved to exclude the rental agreement seized from the vehicle and

the statement he made to Officer Nelson that Sanders had rented the car. Harris Post-

Hearing Memorandum (“Harris Mem.”) pp. 1-2, 9-10 [Docket No. 93].4 Harris argued

that Officer Nelson did not have reasonable suspicion to stop Harris in the vehicle and

that the inventory search of Harris’ vehicle was unconstitutional. Harris Mem., pp. 3-9.



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       Officer Nelson believed that the driveway was in front of a private residence;
however, he did not investigate whether the homeowner did or did not know Harris. Tr.
37-38.
4
       At the hearing, Harris indicated that he was moving to suppress any information
that was derived from the stop, including his identity as the driver of the vehicle, the
information that Sanders was the renter of the vehicle, any statements made by Harris
during the stop, and anything that was observed inside the vehicle. Tr. 41. However,
as Harris has confined his arguments in his post-hearing brief to the seizure of the
rental agreement and his statement regarding Sanders as the renter of the car, the
Court has confined its analysis to these two topics.


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Additionally, Harris contended that Officer Nelson’s testimony regarding statements

made by Harris during the stop should be suppressed as violative of Rule 16 of the

Federal Rules of Criminal Procedure and his rights under the Fifth and Sixth

Amendments. Id., pp. 9-10.

              1.     Motion to Suppress Rental Agreement

                     a.      Stop of Vehicle

       Officer Nelson testified that the vehicle did not signal its turn within 100 feet of

making the turn, and then parked in a driveway blocking the sidewalk. Nevertheless,

Harris argued:

       From the officers’ position traveling northbound, they would not have had
       the opportunity to determine whether Mr. Harris signaled in time before
       making the turn, because there were many cars traveling toward the
       squad car, in the opposite direction of Mr. Harris. These vehicles blocked
       the officers’ line of sight and prevented them from establishing reasonable
       suspicion that Mr. Harris failed to signal within 100 feet of making the turn.

Harris Mem., p. 4.       Additionally, Harris claimed that the officers lacked reasonable

suspicion to believe that Harris’ car was blocking the sidewalk at XXX White Bear

Avenue because he had merely pulled into the driveway, rather than parked the car,

and the purpose of the ordinance, the safety of pedestrians, was not compromised

because there were no pedestrians on the street. Id. Neither argument finds support in

the law or the record.

       The Fourth Amendment guarantees “the right of the people to be secure in their

persons, houses, papers, and effects, against unreasonable searches and seizures,

shall not be violated.” “It is well established that a roadside traffic stop is a ‘seizure’

within the meaning of the Fourth Amendment.” United States v. Jones, 269 F.3d. 919,

924 (8th Cir. 2001). However, “a traffic violation – however minor – creates probable



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cause to stop the driver of a vehicle.” United States v. Linkous, 285 F.3d 716, 719 (8th

Cir. 2002) (citations omitted). This is true even if a valid traffic stop is a pretext for

another investigation. Id. (citation omitted).

          Here, Officer Nelson testified that the vehicle did not signal its turn within 100 feet

of making the turn, a violation of Minn. Stat. § 169.19, and then parked it blocking the

sidewalk, a violation of St. Paul City Ordinance § 157.15(1). As such, the traffic stop of

the vehicle was constitutionally valid.

          Harris’s contention that the officers had no opportunity to determine whether he

had signaled in time mischaracterized the evidence in the record.                Officer Nelson

testified as follows:

          We were on patrol northbound White Bear at about – just north of Third.
          We were in a marked patrol car. I saw in the curbside lane there was a
          Jeep Cherokee, also northbound White Bear from about Third. I saw this
          particular vehicle pull into a driveway at about XXX White Bear. When the
          vehicle made that turn into the driveway, we were about a half block
          behind it. And I saw that the vehicle, as it was turning into the driveway
          signal its turn, which is a violation of a Minnesota Statute 169.19, fail to
          signal 100 feet prior to turn. I observed the vehicle, as I drove by, park,
          blocking the entire sidewalk. And then I, in my rearview mirror and my
          partner was watching, too, saw that the driver of the vehicle didn’t exit,
          wasn’t doing anything.

Tr. 25.

          Officer Nelson was a half block behind Harris’ vehicle, in the same lane as

Harris, when Harris made the illegal turn into the driveway. There was no testimony

that the officers had any trouble seeing Harris’ vehicle when it made the turn, or that

there were any vehicles traveling in the opposite direction of the cars driven by Officer

Nelson and Harris, much less that such traffic obscured Officer Nelson’s sight of Harris’

car.




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      Further, Harris’ argument that the officers lacked reasonable suspicion to believe

that Harris’ car was violating a city ordinance is meritless. First, the Court has already

found that the officers had adequate reasonable suspicion based on the illegal turn to

stop Harris, and therefore whether the officers had additional reasonable suspicion

based on the city ordinance violation is inconsequential.         Second, St. Paul City

Ordinance § 157.15(1) clearly states that “[n]o person shall stop, park or drive an

automobile…along or across any public curb, boulevard or sidewalk within the limits of

the City of Saint Paul, other than where regular or authorized driveways or crossing are

provided for that purpose...” (emphasis added).      The ordinance clearly prohibits both

parking and stopping across a sidewalk; that Harris was blocking the sidewalk because

he had pulled into the driveway is irrelevant. Harris’ further contention that the purpose

of the ordinance – the safety of pedestrians – was not compromised because there

were no pedestrians, is even less compelling. The ordinance does not require that

pedestrians be present – it only requires that a vehicle be stopped or parked across the

sidewalk.

      The Court finds that the stop of Harris’ vehicle was constitutionally valid.

                    b.     Inventory Search

      Harris also contended that the inventory search of his vehicle violated his Fourth

Amendment rights because it was not performed pursuant to standardized police

procedures.5   Harris Mem., p. 6.     Specifically, Harris argued that the police must



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       The Court questions whether Harris, as neither the owner nor the renter of the
vehicle, has standing to contest the inventory search of the vehicle. See i.e. United
States v. Edwards, 242 F.3d 928, 936 (10th Cir. 2001) (defendant did not have standing
to challenge the search of the car itself because it was rented in a third party’s name
and he was not an authorized driver of the vehicle); United States v. Boruff, 909 F.2d


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conduct warrantless inventory searches pursuant to standardized police procedures,

and if law enforcement have no standardized policy for conducting such a search, then

evidence discovered during the search should be suppressed. Id. In support of this

position, Harris argued that where, as here, Officer Nelson was ignorant of the St. Paul

Police Department’s standard inventory procedures, the inventory search was

conducted at the scene rather than at the impound location and without the aid of an

evidence technician, the officers omitted the rental agreement and any other items of

personal property found in the vehicle when they completed the tow report, and other

arrangements could have been made to remove the vehicle from the driveway, the

search was invalid and should be suppressed. Harris Mem., pp. 7-8.

       A warrantless inventory search does not necessarily violate the Fourth

Amendment. See South Dakota v. Opperman, 428 U.S. 364, 369 (1976); United States

v. Marshall, 986 F.2d 1171, 1173 (8th Cir. 1993).       Thus, “[p]olice may conduct a

warrantless search of a lawfully-impounded vehicle even in the absence of probable

cause.”   United States v. Kennedy, 427 F.3d 1136, 1143-44 (8th Cir. 2005) (citing

Florida v. Wells, 495 U.S. 1, 4, 110 S.Ct. 1632, 109 L.Ed.2d 1 (1990); United States v.

Petty, 367 F.3d 1009, 1011-12 (8th Cir. 2004)). In performing an inventory search

which does not violate the Fourth Amendment, the Eighth Circuit has articulated the

following principles:

       [O]fficers need neither search warrant nor probable cause, for they are not
       investigating a crime; instead, they are “performing an administrative or
       care-taking function.” Marshall, 986 F.2d at 1174 (explaining Opperman).
       In performing this function, officers may legitimately be protecting the


111, 117 (5th Cir. 1990) (holding an individual who was not listed as a driver on the
rental agreement did not have a legitimate expectation of privacy despite the fact that
he was in “sole possession and control of the vehicle” at the time of the stop).


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       owner's property while it remains in custody. Opperman, 428 U.S. at 369,
       96 S.Ct. 3092. They may be protecting themselves from claims of lost or
       damaged property or from any potential danger posed by the unknown
       contents of the vehicle. Id. The only limit on such searches is they must be
       reasonable under the circumstances. Id. Inventory searches are
       reasonable if “conducted according to standardized police procedures,
       which vitiate concerns of an investigatory motive or excessive discretion.”
       Id.

United States v. Rowland, 341 F.3d 774, 779 (8th Cir. 2003).

       At the end of the day, “[t]he central question in evaluating the propriety of an

inventory search is whether, in the totality of the circumstances, the search was

reasonable.” Kennedy, 427 F.3d at 1144 (citing United States v. Rankin, 261 F.3d 735,

740 (8th Cir. 2001)).

       As a preliminary matter, the Court does not find that the inventory search here

was performed in violation of any policies of the St. Paul Police Department. Officer

Nelson testified that “[w]e always inventory a search before it's turned over to the tow

truck driver so we can insure anything of value in the vehicle is documented. So if a

theft occurs at a later time, it's documented what was in the car ahead of time.” Tr. 39.

No evidence was submitted to the contrary; in fact, no other evidence was submitted to

the Court regarding police department impound policies.

       Further, no evidence was presented to suggest that there was a requirement that

an evidence technician be present to perform a vehicle inventory search pursuant to a

traffic stop. Finally, Officer Nelson testified that he could not recall any items of value in

the vehicle other than the three cell phones and charger which were listed on the

inventory report.




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       There is simply nothing in the record to suggest that the officers violated any

policy or procedure, particularly when no one provided the Court with any relevant

policy or procedure against which to evaluate the actions of the officers.6

       Harris’ reliance on United States v. Rowland, where a warrantless inventory

search of a vehicle was rejected when officers made a record of only potentially

incriminating evidence, rather than all of the evidence in the vehicle, is misplaced. 341

F.3d 774, 779 (8th Cir. 2003). In Rowland, the Eighth Circuit compared the officers’

actions with a county’s towing and impound policy, which was in the record, and found

that “by failing to make a record of all property within the vehicle [as required by the

policy], law enforcement failed to follow its own procedures.” Id. at 780. While that

finding alone or the fact that the officers had an investigatory motive did “not mandate

the suppression of the evidence discovered as a result of the search,” the court went on

to find in that case that “law enforcement’s failure to record property does illustrate that

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       The Court notes that in United States v. Garner, the Eighth Circuit described St.
Paul’s impound policy as follows:

       St. Paul Department Policy No. 445.151 states that prior to towing any
       vehicle, officers shall conduct an inventory search of the vehicle in order to
       “(1) protect the vehicle owner's property; (2) protect the Department and
       City against disputes over lost or stolen property; and (3) protect the
       officers and other employees from dangerous instrumentalities.” Id. The
       policy also provides that the impoundment must be lawful and not a
       pretext to search a vehicle where other grounds to search are lacking.

181 F.3d 988, 990 (8th Cir. 1999). Regarding the manner of conducting an inventory
search, the court stated “Policy 445.151 only states that an inventory search shall be
conducted prior to towing to the impoundment lot and that officers are permitted to
search inside any container discovered if the officers are unable to ascertain its
contents by examining its exterior. See Policy 445.151.” Id., at 992. Although the Court
does not have the benefit of St. Paul’s current impound policy, and does not know if it is
the same or has changed since Garner, if indeed, it is the same as described in Garner,
then there is nothing before this Court to indicate that the officers here did not comply
with St. Paul impound procedures.


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the inventory search was pretextual.“ Id. at 780-81. The court summarized its analysis

as follows:

       In sum, law enforcement had standardized procedures in place but failed
       to follow them here. Such failure, coupled with the fact the officers
       disregarded items without evidentiary value, even though they were of
       questionable monetary value, suggests they did not search the vehicle in
       order to safeguard the vehicle's contents from loss, or to protect law
       enforcement personnel from harm, or even to guard the department and
       county against a possible lawsuit. Rather, it appears law enforcement
       sifted through the vehicle's contents searching only for and recording only
       incriminating evidence; something law enforcement may not do.

Id. at 782 (citations omitted).

       In contrast, in this case the Court does not know whether the officers did or did

not comply with any written inventory policies because as previously stated, no written

policies were offered into evidence. Rather, like Garner, when the defendant similarly

argued that the arresting officers’ failure to provide a full inventory of a vehicle’s

contents demonstrated “the pretextual nature of the search and renders it invalid,” the

court held that “[s]ince neither the city policy nor the police procedures required the

officers to record all items recovered during the inventory search on a specific form or in

a particular fashion, the officers’ failure to draft an inventory list does not prove…they

acted in bad faith.” 181 F.3d at 992. In this case, there is nothing before this Court to

indicate that the officers did not comply with policies for memorializing what was

confiscated as part of an inventory search.7

       As to Harris’ argument that the impoundment of the vehicle was not necessary

because the officers could have allowed him to make other arrangements to remove the



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      In any event, there is nothing in the record to suggest that the officers failed to
record other property that was in the vehicle, aside from the rental agreement, which
arguably could not even be considered to be “property.”


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vehicle from the driveway, Harris contended that Minnesota state law strongly

discourages the impoundment of vehicles when alternative arrangements are available.

See Harris Mem., p. 7 (citing to State v. Goodrich, 256 N.W.2d 506, 511 (Minn. 1977)).

In Goodrich, the court found that where the defendant did not ask to simply leave his

locked automobile on the street but arranged to have his mother or brother drive it

home, the assumption of custody by the police gave rise to an invasion of defendant's

privacy protected by the Fourth Amendment. Id. at 511. The court then held that “[t]he

state has not shown that the impoundment was a reasonable means of furthering a

reasonable state purpose.” Id.

      No evidence was presented to suggest that alternative arrangements were

actually available in this case, or that Harris offered to make any such arrangements.

Officer Nelson testified that he was not comfortable leaving a rental car abandoned in

front of the house, and impounding the vehicle would allow the rental company to get

the vehicle back. Tr. 43. The Court finds no flaw in this logic. Officer Nelson knew that

Harris was not the owner or renter of the vehicle, and that Harris could not drive the

vehicle because he did not posses a valid driver’s license. As such, the police were not

required to allow Harris to make alternative arrangements and were permitted to

impound it to ensure its return to the rental company. See United States v. Little, 945

F.Supp. 79, 84 (S.D.N.Y. 1996) (“[A]s far as the officers knew, and pursuant to the

terms of the car rental agreement, no occupant of the vehicle was authorized to drive it.

As a result, the officers had the right to impound the car in order to return it to the car

rental company.”).




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       Lastly, even if this Court did find that the officers did not comply with inventorying

procedures, suppression is not necessarily required. “Even when law enforcement fails

to conduct a search according to standardized procedures, this does not mandate the

suppression of the evidence discovered as a result of the search.” Rowland, 341 F.3d

at 780 (citing United States v. Mayfield, 161 F.3d 1143, 1145 (8th Cir. 1998)). “There

must be something else; something to suggest the police raised “the inventory-search

banner in an after-the-fact attempt to justify” a simple investigatory search for

incriminating evidence.” Id. (citing Marshall, 986 F.2d at 1175). In this case, there is

nothing in the record to suggest that an inventory search of the vehicle was performed

for any reason other than to secure and protect property found in it.

       For all of these reasons, and based on the totality of the circumstances, the

Court finds that the impoundment and inventory search of the vehicle were reasonable,

and therefore, recommends that Harris’ motion to suppress the rental agreement on this

basis be denied.

              2.     Motion to Suppress Statement

       Harris maintained that because the Government failed to notify him that it

planned to introduce the self-incriminating statement that Armando Sanders rented the

car he was driving on June 28, 2006, this statement should be suppressed. Harris

Mem., p. 9. According to Harris, the introduction of the statement was a violation of

Fed. R. Crim. P. 16 and deprived him of his due process right to a fair trial as well as his

Sixth Amendment right to confront witnesses against him. Id.

       In response, the Government conceded that it did not disclose the statement

about Sanders prior to the suppression hearing, but stated that it was unaware of the




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existence of the statement until the hearing. Government’s Memorandum in Response

to Motions to Suppress (“Gov’t Mem.”), p. 6 n. 2 [Docket No. 105].8 The Government

contended that Rule 16 is inapplicable because it only applies to written statements,

and Officer Nelson testified that he never wrote a report regarding the statement. Id.,

pp. 6-7. The Government further argued that the statement was made during a routine

traffic stop and as such did not constitute interrogation.      Id., p. 7.   Finally, the

Government asserted that even if this Court were to find that disclosure was mandated

by Rule 16, suppression of the statement was not required. Id., pp. 7-8.

      In pertinent part, Fed. R. Crim. P. 16(a)(1) states:

      (A) Defendant's Oral Statement. Upon a defendant's request, the
      government must disclose to the defendant the substance of any relevant
      oral statement made by the defendant, before or after arrest, in response
      to interrogation by a person the defendant knew was a government agent
      if the government intends to use the statement at trial.

      (B) Defendant's Written or Recorded Statement. Upon a defendant's
      request, the government must disclose to the defendant, and make
      available for inspection, copying, or photographing, all of the following:
             (i) any relevant written or recorded statement by the defendant if:
                      • the statement is within the government's possession,
                      custody, or control; and
                      • the attorney for the government knows--or through due
                      diligence could know--that the statement exists;
             (ii) the portion of any written record containing the substance of any
             relevant oral statement made before or after arrest if the defendant
             made the statement in response to interrogation by a person the
             defendant knew was a government agent; and
             (iii) the defendant's recorded testimony before a grand jury relating
             to the charged offense.



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       The Government does not contend that Harris did not request disclosure of any
statements by him, and the Court finds that Harris did make such a request. See
Defendant’s Motion for Discovery, ¶1 [Docket No. 30]. Further, the Government stated
in response to Harris’ motion that it “has complied with Rule 16 and will continue to
comply.” Government’s Omnibus Answer to Defendants’ Pretrial Motions. [Docket No.
77].


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      Rule 16(a)(1)(B) is inapplicable because there is no written record of the

statement.   Rule 16(a)(1)(A) only comes into play if the statement was made in

response to an interrogation by a government agent. Thus, the initial question this

Court must answer is whether Officer Nelson’s questions to Harris regarding the identity

of the renter of the car amounts to an “interrogation” under Fed. R. Crim. P. 16(a)(1)(A).

      The Government cites to United States v. Howard, 532 F.3d 755, 761 (8th Cir.

2008), for the proposition that roadside questioning does not constitute interrogation.

However, Howard is of no assistance as it did not address Rule 16. Rather, Howard

stood for the proposition that the roadside questioning of the defendant did not

constitute a custodial interrogation requiring Miranda warnings.        Id. at 761.    The

Government also cited to United States v. Reeves, 730 F. 3d 1189, 1193 (8th Cir.

1983). There, one of the defendants, Branscum, spoke with the officers transporting

him to jail after his arrest, and allegedly said, “I know I am in trouble. I know I need

help.” Id. at 1192. The statement was admitted at trial, even though the Government

had not disclosed it to defendants in advance of trial. On appeal from their conviction,

defendants maintained that the district court erred in allowing the government to offer

Branscum's “I know I am in trouble” statement at trial because it had not been disclosed

pursuant to Rule 16(a).     Id. at 1193.    The Eighth Circuit found that Branscum's

statement was an oral statement but it was not made in response to interrogation, and

therefore, was not discoverable under Rule 16(a). Id. (citing United States v. Johnson,

562 F.2d 515, 518 (8th Cir.1977) (per curiam)).       In Johnson, an undercover agent

identified himself by a street name to the defendant at the time of his arrest, and said,

based on an earlier encounter with defendant, “You remember I was, you know, with




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White Folks,” to which the defendant answered, “Yeah.”           562 F.2d at 517.      The

government did not disclose to defendant this conversation statement prior to trial, yet it

was permitted to elicit it from the officer on re-direct after the defendant had attempted

to discredit the officer’s identification of him on cross-examination. Id. The defendant

moved to suppress the conversation because the government had represented that it

knew of no statements made by defendant at the time of his arrest and did not intend to

offer any such statements, and because the government had failed to disclose the

statement pursuant to Fed. R. Crim. P. 16. Id. at 518. In denying the motion, the court

found that there was no indication that the government made a deliberate

misrepresentation when it stated that it did not know of any statements made by the

defendant at the time of his arrest, and that the defendant’s failure to offer any reason

for suppression of the statement showed no prejudice. Id. at 518. The court further

found that no interrogation had taken place, and that the undercover agent was not

known to the defendant as a government agent. Id.

      Here, unlike in Reeves and Johnson, Harris was asked several questions by

Officer Nelson to identify the renter of the vehicle, and Harris was aware that Officer

Nelson was a police officer.    The Court finds that the questioning amounted to an

interrogation, and Harris’s statements in response should have been timely disclosed by

the Government pursuant to Fed. R. Crim. P. 16.9



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        The Court observes that Fed. R. Crim. P. 16 does not specifically speak to a
custodial interrogation by a government agent, as is required for an analysis of the
provision of a Miranda warning. However, a number of courts have imported the
definition of a custodial interrogation, as enunciated in Rhode Island v. Innis, 446 U.S.
291, 301-02 (1980), in determining whether an interrogation has taken place for the
purpose of a Rule 16(a) disclosure. See e.g. Smith v. United States, 285 Fed.Appx.
209, 214 (6th Cir. 2008), and cases cited therein. In Innis, the Supreme Court was


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      Despite having found that Harris’ statement regarding Sanders should have been

disclosed, this Court also concludes that suppression of the statement is not warranted,

particularly where there is no evidence that the Government intentionally withheld

disclosure of the statement and Harris has not shown any prejudice by the late

disclosure.   Fed. R. Crim. P. 16(c) requires that “a party who discovers additional

evidence or material before or during trial must promptly disclose its existence to the

other party or the court.” The statement was discovered and disclosed at the same time


confronted with a situation where the Mirandized defendant, who had been arrested and
seated in the back of a patrol car, interrupted a discussion between the police officers in
the car regarding a missing shotgun and made an inculpatory statement. Innis, 446
U.S. at 294-95. In concluding that the defendant was not interrogated within the
meaning of Miranda, the Supreme Court defined interrogation as follows:

      We conclude that the Miranda safeguards come into play whenever a
      person in custody is subjected to either express questioning or its
      functional equivalent. That is to say, the term “interrogation” under
      Miranda refers not only to express questioning, but also to any words or
      actions on the part of the police (other than those normally attendant to
      arrest and custody) that the police should know are reasonably likely to
      elicit an incriminating response from the suspect.

446 U.S. at 301 (emphasis added). By “incriminating response,” the Court stated it was
referring “to any response – whether inculpatory or exculpatory – that the prosecution
may seek to introduce at trial.” Id. at 302 n 5.

        The Eighth Circuit has not spoken on the relationship between Fed. R. Crim. P.
16(a) and the application of the Innis definition of interrogation when a person is in
custody. However, even if this Court were to find, as have other courts, that the Innis
definition of interrogation should apply to Harris’ statement regarding Sanders rental of
the car, the Court does not find that Officer Nelson should have known his questions to
Harris about who had rented the car were likely to evoke an incriminating response by
Harris. Having learned that Harris did not possess a valid driver’s license and was
driving a rental car, Officer Nelson’s questions regarding the identity of the renter were
more in the form of routine background questions and do not constitute an interrogation.
See Berkemer v. McCarty, 468 U.S. 420, 440 (1984) (roadside questioning during a
routine traffic stop by police does not constitute a custodial interrogation requiring
Miranda warnings); United States v. Howard, 532 F.3d 755, 761 (8th Cir. 2008) (same).
These questions were not designed to elicit incriminating statements, and Officer
Nelson would not have reasonably known that his questions would do so.


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– when Officer Nelson testified to the statement at the suppression hearing. See United

States v. Levine, 700 F.2d 1176, 1182 (8th Cir. 1983) (finding no abuse of discretion by

the district court in refusing to exclude the statements where the prosecutor promptly

informed defense when he learned of the evidence). Harris then had the opportunity to

cross-examine Officer Nelson at the motions hearing and did so at length. As such,

Harris had knowledge of the statement well in advance of trial, which has not yet been

scheduled.

       Finding no misconduct by the Government and that Harris was not prejudiced by

the delayed disclosure of the statement, the Court recommends that it not be

suppressed based on the Government’s failure to disclose it before the suppression

hearing.

II.    HOWARD’S MOTIONS TO SUPPRESS

       A.    Facts

       DEA Agent Terrance Glynn testified as follows: In approximately October of

2006, Agent Glynn began investigating Armando Sanders and the Hoodrich drug

trafficking organization. Tr. 47, 53. Agent Glynn was using a reliable informant who

had been providing him with information regarding the organization. Tr. 49:2-10. On

December 26, 2007, surveillance was begun at a residence located at XXXX West 168th

Place in Country Club Hills, Illinois, which the informant, as well as another DEA agent,

had indicated was a stash house for Sanders’ organization. Tr. 49. Sanders resided at

this residence. Tr. 73. Several vehicles were observed at the residence, including a

blue Mercury Mountaineer. This blue Mountaineer was stopped on December 26, 2007

after leaving the residence. Tr. 50. The driver of the vehicle was Sanders and the




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passenger was defendant Delores Howard. Tr. 50. Sanders was married to Howard’s

sister. Tr. 73. Upon speaking with Sanders, the officer smelled a strong odor of burnt

cannabis coming from inside the vehicle. Tr. 51. He asked Howard if she was in

possession of marijuana, and she stated that she was and provided him with three small

bags of marijuana. Tr. 51. Howard was placed under arrest. Tr. 51. The officer also

learned that Sanders had a suspended license and an outstanding arrest warrant, and

subsequently arrested Sanders. Tr. 50. The Mountaineer was ultimately impounded,

and a certified canine was used to check the vehicle and alerted for the possible

presence of narcotics in the car.    Tr. 51-52.   The vehicle was then searched, and

officers discovered an electronically-operated, custom-concealed compartment under

the third row seat that could be used to store large amounts of drugs and currency. Tr.

52. The next day, on December 27, 2007, investigators applied for and installed a

tracking device into the blue Mountaineer. Tr. 52. On December 30, 2007 investigators

learned that the blue Mountaineer was traveling from Minneapolis to Chicago, which

was consistent with what investigators knew about the Hoodrich organization. Tr. 53.

At the request of Agent Glynn, the Mountaineer was stopped.           Tr. 53.   Delbert

Langston10 was driving the car with a passenger named Derek Ross. Tr. 53. Langston

was the registered owner of the blue Mountaineer and gave verbal and written consent

for the vehicle to be searched.     Tr. 54    Currency in the amount of $212,215 was

discovered in the hidden compartment and Langston and Ross were arrested. Tr. 54.

A drug dog gave a positive alert to the presence of narcotics on the money. Tr. 54.




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      Langston is a co-defendant in this case.



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      Between December 30, 2007 and January 18, 2008, investigators conducted

periodic surveillance of the residence in Country Club Hills. Tr. 54. They learned that

Sanders, Lebyron Carr11 and John Cooper frequented the residence, and again saw

several different vehicles at the residence. Tr. 55. On January 18, 2008, Agent Glynn

was conducting surveillance of the house, at which time he observed a 2005 Jeep

Cherokee parked and backed up along the back door on the grassy area off the

driveway. Tr. 55. The vehicle was parked in such a fashion that it was difficult for

anyone to observe it from the street. Tr. 56. Agent Glynn saw that the back hatch of

the vehicle was open, and there was an unknown black male wearing blue latex surgical

gloves going in and out of the car, the passenger seat, the back, and then into the

residence. Tr. 56.

      On the same day, Agent Glynn observed a gold Mercury Mountaineer parked in

the driveway of the residence and a silver Dodge Magnum arrive and park in front of the

house.   Tr. 56.     A black female, later identified as Candace Keough, went to the

Magnum and then re-entered the house. Tr. 56-57. A short time later, a car seat was

removed from the Magnum and another individual, Brandon Roy, took the seat to the

Jeep which was still parked at the back of the residence and installed the seat in the

back of the Jeep. Tr.57. Keough got into the driver’s seat of the Jeep and Roy was in

the passenger seat; they then switched so that Roy was driving and Keough was in the

passenger seat, and there were two children in the back seat of the car. Tr. 57. Roy

pulled the Jeep into the driveway and exited the vehicle, went into the residence for a

short period of time, and came back out, at which point the vehicle left the residence.



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      Carr is a co-defendant in this case.


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Tr. 57.   The Jeep was followed to a number of locations, and was eventually was

stopped for a traffic violation around 2:00 p.m. on southbound Interstate 57 by a Cook

County canine patrol officer. Tr. 57-59. At this time, the driver was Keough, and she

was asked for her driver’s license and insurance card, but she could not produce her

insurance card. Tr. 59. The officer did a canine exterior search of the vehicle, and the

dog gave a positive hit on the rear wheel well. Tr. 59. The vehicle was driven to the

Cook County Police Department Lab and a further search of the interior of the vehicle

was conducted, at which time 25 kilograms of cocaine were recovered from the rear

back of the vehicle. Tr. 59. The Jeep contained an electronically controlled hidden

compartment similar to the one found in the blue Mercury Mountaineer. Tr. 59-60.

       As for the gold Mercury Mountaineer, it left the residence before the Jeep, and

investigators followed it to a gas station. Tr.58. The driver, Carr, exited the vehicle and

went inside the gas station; he came back out and entered a newer model white Range

Rover and sat in the back seat. Tr. 58. Carr got out of the Range Rover, got back into

the gold Mountaineer, and then went northbound on the interstate toward Chicago. Tr.

58.   Surveillance lost the Mountaineer for a short period of time, but it was re-

established when the Mountaineer returned to the residence in Country Club Hills at

approximately 3:17 p.m. Tr. 58, 60. The gold Mountaineer backed into the driveway,

and Carr exited the vehicle and entered the residence through the south rear door. Tr.

60. A short time later, Carr was seen exiting the back door carrying something that

appeared heavy, and then he walked to the rear passenger door of the gold

Mountaineer and opened it and the rear hatch of the vehicle. Tr. 61, 77. Shortly




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thereafter, a white Cadillac arrived and parked in front of the house, and three black

women exited the vehicle with a child and entered the residence. Tr. 61.

       Shortly afterward, Howard was observed exiting the rear of the residence and

walking over to the gold Mountaineer. Tr. 61. Howard got into the driver’s seat of the

gold Mountaineer. Tr. 61. Surveillance agents observed Carr on the telephone, looking

up and down the street. Tr. 61. Howard then exited the driveway and made a series of

turns which Agent Glynn described as counter-surveillance moves. Tr. 61, 78. She

then drove at a high rate of speed on 167th Street, and approximately a mile later, made

a sudden left-hand turn from the right lane, at which time the Cook County Sheriff

conducted an investigative stop on the vehicle. Tr. 62, 78 The officer determined that

Howard had a suspended driver’s license and she was arrested at that time. Tr. 63.

The gold Mountaineer was transferred to the Cook County Police Lab. T. 63.

       Based on the fact that the gold Mountaineer had left the same residence as the

Jeep that had been pulled over and found to contain 25 kilograms of cocaine, the

knowledge that the vehicle contained a hidden compartment, the observation of Carr

carrying something heavy to the Gold Mountaineer, and the counter-surveillance

maneuvers by Howard, a canine sniff of the vehicle exterior was conducted, at which

time the canine gave a positive alert on the rear bumper. Tr. 63, 88-89. The vehicle

was then searched and was found to contain 24 kilograms of cocaine underneath the

rear seat. Tr. 63.

       When asked to summarize his reasons for stopping the gold Mountaineer, Agent

Glynn testified that there were several different bases: the recovery of 25 kilograms of

cocaine from the hidden compartment of the Jeep after it left the Country Club Hills




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residence; the gold Mountaineer left for a short period of time, and upon its return, Carr

was observed carrying something heavy to the vehicle and going to the back of it where

the side passenger door and back hatch were open; and Howard then drove the vehicle

from the residence, conducting counter-surveillance measures. Tr. 76-78. Agent Glynn

also knew that Howard had been stopped in a blue Mountaineer with Sanders in late

December and had been arrested for possession of marijuana, that a trap had been

found in that vehicle, that $212,000 was recovered from the trap three days later, and

that the vehicle was the same make and model as the vehicle Howard was driving on

January 18, 2008. Tr. 84-85.

      After she was arrested, Howard was held at the Cook County Sheriff’s Police

Department in Markham, Illinois. Tr. 63. She was advised of her Miranda rights, and

indicated that she understood. Tr. 64. Howard was interviewed for about ten minutes

and denied any knowledge of the cocaine in the car. Tr. 64. At no time did she ever

ask for a lawyer or invoke her right to remain silent. Tr. 65. Howard did not sign a piece

of paper waiving her Miranda rights, and the interview was not recorded. Tr. 80.

      On January 20, 2008, Agent Glynn’s partner, Patrick Donovan, was contacted by

the Cook County State’s Attorney who related to him that Howard wanted to speak with

the agents who arrested her. Tr. 65. Howard was interviewed in an interview room at

the Cook County Jail by Agent Glynn, Patrick Donovan and Joseph Wesley. Tr. 65, 67.

Agent Glynn advised her verbally of her Miranda rights, which she stated that she

understood and waived. Tr. 65-66. Howard did not sign a paper waiving her rights, and

the interview was not recorded. Tr. 67. The interview lasted for approximately one




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hour, and took place in a room that was approximately 10 by 10 or 10 by 12 feet. Tr.

83. All of the interviewing officers were in plainclothes and unarmed. Tr. 83.

      At one point during the interview, Howard stated that the person the investigators

were looking for was her brother-in-law, Armando Sanders, and that he lived in the

Country Club Hills residence in the north bedroom. Tr. 82. She further stated that an

individual named John Cooper lived in the south bedroom, and that Lebyron Carr lived

in the upstairs bedroom; Carr had advised her to take the car to XXXX 142nd Street in

Dolton, Illinois, which was an address where she used to live. Tr. 82. Howard stated

that Carr had basically told her that the car was “locked and loaded,” which she said

was a term indicating that the vehicle contained narcotics or illegal drugs, in particular

cocaine. Tr. 82.

      At no time during the second interview did Howard request to speak to an

attorney or indicate that she no longer wished to answer questions. Tr. 67. There was

no yelling or shouting and Howard appeared to understand the questions that were

asked of her. Tr. 68. Howard never asked for a restroom break, for food or water or

anything of the kind. Tr. 68. No promises were made to Howard during the interview.

Tr. 69. After speaking to her for an hour, the interview was terminated. Tr. 68.

      B.     Analysis

             1.     Motion to Suppress Evidence

      Howard primarily challenges the stop of the gold Mountaineer.                Howard

Memorandum in Support of the Defendant’s Motion to Suppress Evidence Seized from

a Motor Vehicle (“Howard Mem.”), p. 1 [Docket No. 95]. Howard conceded that she did

not have standing to contest the search of the residence in Country Club Hills, and that




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if the stop of the gold Mountaineer was upheld, that her subsequent arrest and the

search of the vehicle after the canine sniff were lawful. Id., pp. 1, 6. As such, the Court

first addresses the legality of the stop of the Mountaineer.

       Howard argued that the stop of the gold Mountaineer was not justified by

reasonable suspicion because although police knew that other vehicles connected with

the Country Club Hills address had secret compartments and had been found to contain

drugs, no contraband was seen being placed in the gold Mountaineer driven by Howard.

Howard Mem., p. 5. Further, Howard maintained that the police had no informant

information regarding the contents of the Mountaineer, had performed no records check

on Howard before the stop, and had no basis for making an investigatory stop on her.

Id., p. 6.   In opposition, the Government asserted that officers had a reasonable

suspicion that the gold Mountaineer or its occupants were involved in criminal activity,

and thus, were warranted in making an investigatory stop of the vehicle. See Gov’t

Mem., pp. 11-15.

       “The Fourth Amendment permits an investigative stop of a vehicle if officers have

a reasonable suspicion the vehicle or its occupants are involved in criminal activity.”

United States v. Bell, 480 F.3d 860, 863 (8th Cir. 2007). “While ‘reasonable suspicion’

must be more than an inchoate ‘hunch,’ the Fourth Amendment only requires that police

articulate some minimal, objective justification for an investigatory stop.” United States

v. Fuse, 391 F.3d 924, 929 (8th Cir. 2004). A court must consider the totality of the

circumstances when determining whether the particular facts known to the officer

supplied an “objective and particularized basis for a reasonable suspicion of criminal

activity.” United States v. Maltais, 403 F.3d 550, 554 (8th Cir. 2005).




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        In this case, law enforcement had knowledge of the following information prior to

the stop of the gold Mountaineer on January 18, 2008: the Country Club Hills residence

was a drug stash house for the Sanders drug trafficking organization; Sanders resided

at the house and Sanders was married to Howard’s sister; at the end of December

2007, Howard and Sanders had been stopped in a blue Mountaineer seen leaving the

Country Club Hills residence, and the vehicle was found to contain a concealed custom

trap designed to hold drugs and money; at the time of the stop, Howard was in

possession of marijuana and was placed under arrest; and three days later the blue

Mountaineer was stopped again, over $212,000 in currency was discovered in the

hidden compartment of the vehicle and a canine dog alerted to the presence of

narcotics on the money. In addition, on January 18, 2008, the day of the stop of the

gold Mountaineer, while conducting surveillance of the Country Club Hills residence,

investigators observed several vehicles coming and going from the residence, including

a Jeep Cherokee, a Dodge Magnum, the gold Mountaineer and a white Cadillac. Prior

to stopping Howard in the gold Mountaineer, investigators saw an individual wearing

blue latex gloves getting in and out of the Jeep and going back into the residence. This

Jeep was subsequently stopped and found to contain twenty-five kilos of cocaine in a

hidden compartment similar to the one found in the blue Mountaineer in December

2007.    Officers also observed the gold Mountaineer leave the Country Club Hills

residence before the Jeep and then return, at which time the driver, Carr, backed the

vehicle into the driveway and was observed to be carrying something heavy to the

vehicle and open the rear passenger door and rear hatch. Howard then got into the

gold Mountaineer and before she left the residence, investigators saw Carr outside the




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residence looking up and down the street and talking on a cell phone.                   Finally,

investigators observed Howard make a series of counter-surveillance moves and

commit two traffic violations in their presence.

       In summary, on January 18, 2008, the investigating officers were in possession

of facts which tied drug trafficking activities to the Country Club Hills residence and the

vehicles that came and left this residence.         With regard to Howard and the gold

Mountaineer, they not only saw the SUV at the residence, but also observed actions at

the vehicle by Carr and Howard consistent with these drug trafficking activities,

including Carr carrying something heavy to the vehicle that had the rear passenger door

and hatch door open, Carr looking up and down the street and talking on a cell phone

before Howard pulled into traffic, and Howard engaging in counter-surveillance moves

after she left the house.     Based on all of these facts and on the totality of these

circumstances, the Court finds that the officers had a reasonable suspicion to believe

that the gold Mountaineer contained evidence of criminal activity and they had an

objective and particularized basis to stop the vehicle.          Howard’s challenge to the

lawfulness of her arrest and subsequent search of the vehicle on this basis should be

denied. 12



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       Agent Glynn did not testify and the Government did not argue that Howard was
stopped for traffic violations. However, as noted above, “a traffic violation – however
minor – creates probable cause to stop the driver of a vehicle.” Linkous, 285 F.3d at
719; see also United States v. Olivera-Mendez, 484 F.3d 505, 509 (8th Cir. 2007) (“it is
well-established that a police officer who observes a traffic violation has probable cause
to stop the vehicle and its driver”). This is true even if a valid traffic stop is a pretext for
another investigation. Id. (citation omitted). Thus, even assuming that the real reason
for the traffic stop was because the surveilling officers believed that the vehicle was
carrying drugs, the actual motive in stopping the vehicle is irrelevant so long as the stop
was valid. See Whren v. United States, 517 U.S. 806, 810, 812-13 (1996). Here, Agent
Glynn testified that Howard was observed traveling at a high rate of speed, and making


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             2.     Motion to Suppress Statements

      Howard filed a general motion to suppress statements [Docket No. 58]. In this

motion, she stated that any statements were given in violation of her Fourth and Fifth

Amendment rights, and were not knowingly and voluntarily given. Id., p. 1. At the

hearing, she confirmed that she was proceeding with that motion, and suggested that

the statements from the interviews on January 18 and 20 required suppression based

on a Miranda violation. Tr. 21, 87. In her post-hearing memorandum, Howard did not

mention this motion at all, suggesting that she had conceded the motion.              In an

abundance of caution, the Court will briefly address the motion.

      Miranda v. Arizona requires that an individual be advised of his right to be free

from compulsory self-incrimination and the right to the assistance of an attorney anytime

the individual is taken into custody for questioning. Miranda v. Arizona, 384 U.S. 436,

444 (1966); see also United States v. Griffin, 922 F.2d 1343, 1347 (8th Cir. 1990).

Therefore, the protections afforded by Miranda are triggered when an individual "is both

in custody and being interrogated." United States v. Hatten, 68 F.3d 257, 261 (8th Cir.

1995) (citing United States v. Lawrence, 952 F.2d 1034, 1036 (8th Cir. 1992)).

      There is no dispute that Howard was in custody at the time the statements were

made, and that she was therefore entitled to a reading of her Miranda rights. Further, it

is evident from the record that she was given her Miranda rights. Tr. 64-66. Thus, the

only issue that remains for determination is whether Howard validly waived those rights.

      A waiver of Miranda rights is valid if it satisfies the following criteria: "First, the

relinquishment of the right must have been voluntary in the sense that it was the product


a left-hand turn from the right-hand lane. Tr. 62, 78.    These violations alone provided
the officers with probable cause to stop the vehicle.


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of a free and deliberate choice rather than intimidation, coercion, or deception. Second,

the waiver must have been made with a full awareness of both the nature of the right

being abandoned and the consequences of the decision to abandon it." United States

v. Turner, 157 F.3d 552, 555 (8th Cir. 1998) (citing United States v. Jones, 23 F.3d

1307, 1313 (8th Cir. 1994)). “The determination of whether an accused has knowingly

and voluntarily waived his Miranda rights depends on all the facts of each particular

case.” Stumes v. Solem, 752 F.2d 317, 320 (8th Cir. 1985) (citing Fare v. Michael C.,

442 U.S. 707, 724-25 (1979)). Only if the “‘totality of the circumstances surrounding the

interrogation’” reveals both an uncoerced choice and the requisite level of

comprehension may this Court properly conclude that the defendant’s Miranda rights

have been waived. See Moran v. Burbine, 475 U.S. 412, 421 (1986) (quoting Fare, 442

U.S. at 725).

       Here, there are no facts to indicate that Howard’s waiver was not the product of

free choice, and Howard has offered nothing to suggest that her Miranda rights were

waived involuntarily, or that she was coerced into the waiver. The interview on January

18 was brief, lasting ten minutes, and there is no testimony regarding any

circumstances of that interview, except that she never asked for a lawyer or invoked her

right to remain silent. Tr. 65. The interview on January 20 was initiated by Howard, not

by investigators, indicating that her participation in that interview was voluntary. Howard

was interviewed for approximately one hour in an interview room at the Cook County

Jail by three officers. Tr. 65-67. The interviewing officers were in plainclothes and

unarmed. Tr. 83. At no time did Howard request to speak to an attorney or indicate that

she no longer wished to answer questions. Tr. 67. There was no yelling or shouting




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and Howard appeared to understand the questions that were asked of her. Tr. 68.

Howard never asked for a restroom break, for food, water or for anything else, and no

promises were made to Howard during the interview. Tr. 68-69.

       In short, there is nothing in the record to support an inference of either a Miranda

violation or an involuntary statement. As such, the Court recommends that Howard’s

Motion to Suppress Statements be denied.

II.    RECOMMENDATION

       For the reasons set forth above and based on all the files, records, and

proceedings herein,

       IT IS RECOMMENDED THAT:

       1.       Defendant Keenan Harris’s oral motion to suppress a traffic stop

                and citation from June 28, 2006 be DENIED;

       2.       Defendant Delores Howard’s Motion to Suppress Evidence

                Obtained as a Result of Search and Seizure of Defendant’s

                Residence and Vehicle [Docket No. 56] be DENIED;

       3.       Defendant Delores Howard’s Motion to Suppress Evidence

                Obtained as a Result of Search and Seizure [Docket No. 57] be

                DENIED; and

       4.       Defendant Delores Howard’s Motion to Suppress Statements,

                Admissions and Answers [Docket No. 58] be DENIED.




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Dated:       February 5, 2009



                                               s/ Janie S. Mayeron
                                               JANIE S. MAYERON
                                               United States Magistrate Judge




Pursuant to Local Rule 72.2(b), any party may object to this Report and
Recommendation by filing with the Clerk of Court, and by serving upon all parties on or
before February 23, 2009 a copy of this Report, written objections which specifically
identify the portions of the Report to which objections are made and the bases for each
objection.




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